liwaieas boda. ght. DE
UNITED STATES DISTRICT COURT ee
FOR THE DISTRICT OF SOUTH CAROLINA 9 (2820 FAY 15 PH 2: 03
CHARLESTON DIVISION

Jay Connor,
C/A No: 2:25-cv-0553-JD-MGB

Plaintiff,

Vs. REQUEST FOR ENTRY OF DEFAULT
American Legacy Partners, Inc., Jeremy Wilson
Individually, Mark Merritt Individually and John
Does 1-10

Defendants.

Plaintiff requests the Clerk of Court enter default against Defendant Mark Merritt
pursuant to Rule 55 of the Federal Rules of Civil Procedure and Local Rule 55.01. The
Defendant has not filed a responsive pleading to the Complaint in this case. The time for serving
a responsive pleading for the Defendant has passed. This request is supported by an affidavit

attached as an Exhibit to this request.
Respectfully submitted,

Jay C. Connor

A
Ch, Coun
Jay GCap
215 East Bay Street 201-F

May 15, 2025 Charleston, SC 29401
843-557-5724 (Residential)
Jayc650@hush.com

